
PER CURIAM.
We have for review B.M. v. State, 625 So.2d 956 (Fla. 5th DCA 1993), which cited as authority a case pending review in this Court, B.H. v. State, 622 So.2d 615 (Fla. 5th DCA 1993), aff'd in part, 645 So.2d 987 (Fla. 1994). We have jurisdiction, art. V, § 3(b)(3), Fla. Const., and approve the decision on authority of B.H.
It is so ordered.
GRIMES, C.J., OVERTON and WELLS, JJ., and McDONALD, Senior Justice, concur.
HARDING, J., concurs in part and dissents in part with an opinion.
KOGAN, J., dissents with an opinion, in which SHAW, J., concurs.
